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                UNITED STATES COURT OF INTERNATIONAL TRADE

                                                                )
 BEST MATTRESSES INTERNATIONAL COMPANY                          )
 LIMITED AND ROSE LION FURNITURE                                )
 INTERNATIONAL COMPANY LIMITED                                  )
                                                                )
                                     Plaintiffs,                )
                                                                )
                              v.                                )       Ct. No. 21-00281
                                                                )
 UNITED STATES,                                                 )
                                                                )
                                     Defendant.                 )
                                                                )
                                                                )
                                                                )

                                        COMPLAINT

       Plaintiffs Best Mattresses International Company Limited (“Best Mattresses”) and Rose

Lion Furniture International Company Limited (“Rose Lion”), by and through their counsel, allege

and state as follows:

                         I.        PROCEEDING UNDER REVIEW

       1.      This action seeks judicial review of certain aspects of the final affirmative

antidumping duty determination by the U.S. Department of Commerce (“Commerce”) with respect

to mattresses from Cambodia. See Mattresses From Cambodia: Final Affirmative Determination

of Sales at Less Than Fair Value and Final Negative Determination of Critical Circumstances, 86

Fed. Reg. 15,894 (Dep’t of Commerce Mar. 25, 2021) (“Final Determination”), and accompanying

Issues and Dec. Mem. (“Final I&D Mem.”), as amended by Mattresses From Cambodia, Indonesia,

Malaysia, Serbia, Thailand, the Republic of Turkey, and the Socialist Republic of Vietnam:

Antidumping Duty Orders and Amended Final Affirmative Antidumping Determination for

Cambodia, 86 Fed. Reg. 26,460 (Dep’t of Commerce May 14, 2021) (“Amended Final
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Determination”).

                   II.    JURISDICTION AND STANDARD OF REVIEW

        2.      Plaintiffs brings this action pursuant to the Tariff Act of 1930, as amended (the

“Act”), sections 516A(a)(2)(A)(i)(II) and 516A(a)(2)(B)(i), 19 U.S.C. §§ 1516a(a)(2)(A)(i)(II);

(a)(2)(B)(i).

        3.      This Court has jurisdiction pursuant to 28 U.S.C. § 1581(c) and section

516A(a)(2)(A)(i)(II),(a)(2)(B)(i) of the Act, 19 U.S.C. §§ 1516a(a)(2)(A)(i)(II), (a)(2)(B)(i).

        4.      The standard of review, as set forth in section 516A(b)(1)(B)(i) of the Act,

19 U.S.C. § 1516a(b)(1)(B)(i), is whether the determinations, findings or conclusions of

Commerce are “unsupported by substantial evidence on the record, or otherwise not in accordance

with law.”

                                       III.    STANDING

         5.     Plaintiffs are foreign producers and exporters of the subject merchandise who were

selected as mandatory respondents for which Commerce calculated a dumping margin and, thus,

qualify as interested parties pursuant to 19 U.S.C. § 1677(9)(A).

         6.     Accordingly, Plaintiffs, have standing to bring this action pursuant to 28 U.S.C.

§ 2631(c) and 19 U.S.C. § 1516a(d).

                               IV.    TIMELINESS OF THIS ACTION

        7.      Plaintiffs commenced this action by filing a summons on June 11, 2021, which was

within thirty days after the publication of the antidumping duty order in the Federal Register. 19

U.S.C. § 1516a(a)(2)(A)(i)(II); see Amended Final Determination, 86 Fed. Reg. 26,460; Summons

(June 11, 2021), ECF No. 1.

        8.      Pursuant to 28 U.S.C. § 2636(c), a complaint in a civil action brought under 28

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U.S.C. § 1581(c) must be filed in accordance with USCIT R. 3(a)(2), requiring that a complaint

be filed within thirty days of the summons. This complaint is, therefore, timely filed because it is

being filed within thirty days of the filing of the summons in this matter, which was filed on June

11, 2021.

                               V.      STATEMENT OF FACTS

       9.      On March 31, 2020 Brooklyn Bedding, Corsicana Mattress Company, Elite

Comfort Solutions, FXI, Inc., Innocor, Inc., Kolcraft Enterprises, Inc., Leggett & Platt,

Incorporated, the International Brotherhood of Teamsters, and United Steel, Paper and Forestry,

Rubber, Manufacturing, Energy, Allied Industrial and Service Workers International Union, AFL-

CIO (collectively “Petitioners”) filed a petition for the imposition of antidumping duties on

dumped imports of mattresses from Cambodia, Indonesia, Malaysia, Serbia, Thailand, Turkey, and

Vietnam, as well as the imposition of countervailing duties on subsidized imports of mattresses

from China. See Mattresses From Cambodia, Indonesia, Malaysia, Serbia, Thailand, the Republic

of Turkey, and the Socialist Republic of Vietnam: Initiation of Less-Than-Fair-Value

Investigations, 85 Fed. Reg. 23,002 (Dep’t of Commerce Apr. 24, 2020).

       10.     On April 24, 2020, Commerce published notice of the initiation of a less-than-fair

value investigation on mattresses from Cambodia. See id.

       11.     On May 21, 2020, the International Trade Commission (the “Commission”)

published notice of its affirmative preliminary injury determination.        See Mattresses From

Cambodia, China, Indonesia, Malaysia, Serbia, Thailand, Turkey, and Vietnam, 85 Fed. Reg.

30,984 (Int’l Trade Comm’n May 21, 2020).

       12.     On May 22, 2020, Commerce selected Best Mattresses and Rose Lion as mandatory

respondents. See Mattresses From Cambodia: Preliminary Affirmative Determination of Sales at


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Less Than Fair Value, Preliminary Affirmative Determination of Critical Circumstances,

Postponement of Final Determination, and Extension of Provisional Measures, 85 Fed. Reg.

69,594 (Dep’t of Commerce Nov. 3, 2020) (“Prelim. Determination”), and accompanying Issues

and Dec. Mem. at 2 (“Prelim. I&D Mem.”)

       13.     In June and July 2020, Plaintiffs submitted timely responses to Section A of

Commerce’s antidumping questionnaire, i.e., the section relating to general information, and to

sections C, and D of Commerce’s antidumping questionnaire, i.e., the sections relating to U.S.

sales, cost of production (“COP”) and constructed value. See Prelim. I&D Mem. at 3. From July

through September 2020, Plaintiffs submitted timely responses to Commerce’s supplemental

questionnaires. See id.

       14.     On August 11, 2020, Commerce published notice in the Federal Register that it was

postponing the preliminary determination to no later than October 27, 2020. See Mattresses From

Cambodia, Indonesia, Malaysia, Serbia, Thailand, the Republic of Turkey, and the Socialist

Republic of Vietnam: Postponement of Preliminary Determinations in the Less-Than-Fair-Value

Investigations, 85 Fed. Reg. 48,505 (Dep’t of Commerce Aug. 11, 2020).

       15.     On September 29, 2020, Plaintiffs filed a request to postpone the final

determination and to extend provisional measures. See Prelim. Determination, 85 Fed. Reg. at

69,596.

       16.     On November 3, 2020, Commerce published its affirmative preliminary

determination of sales at less-than-fair-value and also collapsed the two respondents as one entity.

No parties contested Commerce’s decision to collapse the Plaintiffs. See Prelim. Determination,

85 Fed. Reg.at 69,595. Commerce calculated a single dumping margin of 252.74 percent for both

Plaintiffs. Commerce also postponed the final determination until no later than March 18, 2021.



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See id. at 69,596.

       17.     In the Preliminary Determination, to calculate Plaintiffs’ COP of subject

merchandise, Commerce selected various market prices against which it compared Plaintiffs’ input

purchases from affiliated suppliers pursuant to the transactions disregarded and major input rules

codified in 19 U.S.C. § 1677b(f)(2)-(3). See Prelim. Determination, and accompanying Cost Mem.

at 2 (Public Version).

       18.     For Plaintiffs’ major inputs, Commerce selected Brazil as a surrogate country and

used Global Trade Atlas (“GTA”) import data into Brazil to value the COP of Plaintiffs’ major

inputs, instead of relying on Plaintiffs’ own costs. See id. To value Plaintiffs’ other inputs,

including fixed assets and packing materials, Commerce averaged import prices compiled by GTA

for six countries (Brazil, Malaysia, Mexico, Romania, Russia and Turkey). See id.

       19.      In addition, Commerce used the financial statements of an Indian mattress

producer Emirates Sleep Systems Private Limited (“Emirates”) to construct Plaintiffs’ profit and

selling expenses ratios instead of the financial statements of a comparable Cambodian company,

Grand Twins International (“GTI”). See id.

       20.     Based on these surrogate market prices, Commerce made significant adjustments

to Plaintiffs’ reported COP. See id.

       21.     On January 19, 2021, Plaintiffs filed a case brief disputing Commerce’s preliminary

determination on various grounds, but Plaintiffs did not challenge Commerce’s collapsing of the

two mandatory respondents and filed their case brief jointly. See Final I&D Mem. at 2. Plaintiffs

challenged Commerce’s COP calculation methodology, and, in particular, its application of the

transactions disregarded and major input rules and selection of surrogate prices to ascertain the

market price and input COP of Plaintiffs’ material input purchases. See Final I&D Mem. at Cmt.



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2. Plaintiffs also urged Commerce to revise its preliminary calculation of Plaintiffs’ fixed assets

depreciation on the basis that fixed assets are treated differently in Plaintiffs’ accounting system

than production inputs and, thus, should not be valued using the same methodology. See id.

Plaintiffs also pointed out the significant flaws in Emirates’ financial statements and argued that

Commerce should, instead, use GTI’s financial statements in the final determination. See id.

        22.     On March 5, 2021, Commerce conducted a hearing. See id. at 2. Plaintiffs’ counsel

participated and discussed issues raised in their case brief. Petitioners’ counsel also appeared and

presented issues raised in their rebuttal brief.

        23.     On March 25, 2021, Commerce published its affirmative final determination of

sales at less-than-fair-value and calculated a dumping margin of 45.34 percent for Plaintiffs. See

Final Determination, 86 Fed. Reg. at 15,895. Commerce revised its preliminary selection of Brazil

as a surrogate country to value Plaintiffs’ major inputs and, instead, used the average value of the

GTA data from six countries (i.e., Brazil, Malaysia, Mexico, Romania, Russia and Turkey) in its

final COP calculation. See Final I&D Mem. at Cmt. 1. Commerce, however, included aberrational

data from Romania in its final COP calculation and also excluded Mexico data on the basis of unit

conversion when the record clearly provided Commerce with converting information. See id.;

Final Determination, and accompanying Cost Mem. at 2, Attach. 1E (Public Version) (“Final Cost

Mem.”).

        24.     Moreover, Commerce continued to use its preliminary minor input adjustment

methodology to adjust fixed asset depreciation expenses despite Plaintiffs’ claims that material

expenses and depreciation are distinct and operate differently within Plaintiffs’ accounting system,

as Plaintiffs raised in their case brief. See Final Cost Mem. at 2 (Public Version).

        25.     In addition, Commerce continued to rely on Emirates’ financial statements to



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construct Plaintiffs’ profit and selling expenses ratios. See id.

       26.     Between March 29 and April 5, Plaintiffs and Petitioners submitted ministerial

error allegations and rebuttals comments regarding clerical errors in Commerce’s calculation. See

Mem. from John C. McGowan to James Maeder re: Antidumping Duty Investigation of Mattresses

from Cambodia: Allegations of Ministerial Errors in Final Determination (Apr. 19, 2021) (Public

Version) (“Ministerial Error Mem.”).

       27.     On May 14, 2021, the Commission published its affirmative final injury

determination in the Federal Register.       See Mattresses From Cambodia, China, Indonesia,

Malaysia, Serbia, Thailand, Turkey, and Vietnam, 86 Fed. Reg. 26,545 (Int’l Trade Comm’n May.

14, 2021).

       28.     On May 14, 2021, Commerce published its amended final determination of sales at

less-than-fair-value, which corrected certain clerical errors in Commerce’s dumping margin

calculation, assigned a dumping margin of 52.41 percent to Plaintiffs and also issued the

antidumping duty order on mattresses from Cambodia. Amended Final Determination, 86 Fed.

Reg. at 26,462. Commerce accepted Petitioners’ ministerial error allegation and Plaintiffs’

ministerial error allegation on packing cost, but refused to correct the error of excluding Mexican

data to evaluate a certain input. See Ministerial Error Mem. at 3-4 (Public Version).

                            VI.     STATEMENT OF THE CLAIMS

                                             COUNT I

       29.     Plaintiffs herein incorporate by reference paragraphs 1 through 28, supra, of this

complaint.

       30.     Commerce’s use of surrogate country data from six countries to value the COP of

Plaintiffs’ major inputs in this market economy investigation rather than Plaintiffs’ own reported


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prices or, alternatively, market price data from Cambodia is unsupported by substantial evidence

and otherwise not in accordance with law.

                                            COUNT II

       31.     Plaintiffs herein incorporates by reference paragraphs 1 through 30 supra, of this

complaint.

       32.     Even if the Court upholds Commerce’s use of surrogate values to calculate the COP

of Plaintiffs’ major inputs challenged in Count I of this complaint, Commerce’s inclusion of

Romanian GTA data in its calculation of Plaintiffs’ major input COP is nevertheless unsupported

by substantial evidence and unlawful because certain Romanian GTA data are aberrational and

seriously corrupt Commerce’s overall major input COP calculation.

                                            COUNT III

       33.     Plaintiffs herein incorporates by reference paragraphs 1 through 32 supra, of this

complaint.

       34.     Even if the Court upholds Commerce’s use of surrogate values to calculate the COP

of Plaintiffs’ major inputs challenged in Count I of this complaint, Commerce’s decision to exclude

Mexican GTA data from its COP calculation for one of Plaintiffs’ major inputs on the basis that

the Mexican GTA data for this input were reported in square meters (“m2”) rather than kilograms

(“kg”) is unsupported by substantial evidence and otherwise not in accordance with law because

record evidence provides an input-specific m2/kg conversion factor using Plaintiffs’ reported

purchases.

                                            COUNT IV

       35.     Plaintiffs herein incorporate by reference paragraphs 1 through 34, supra, of this

complaint.

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       36.      Commerce’s application of the transactions disregarded rule under section

773(f)(2) of the Act to adjust Plaintiffs’ fixed asset depreciation expenses is unsupported by

substantial evidence and otherwise not in accordance with law because Commerce ignored

relevant market price data proposed by Plaintiffs and, instead, used surrogate price data for

material inputs to calculate its adjustment ratio even though raw materials and fixed assets

depreciation are different types of expenses that operate differently within Plaintiffs’ accounting

system.

                                             COUNT V

       37.      Plaintiffs herein incorporate by reference paragraphs 1 through 36, supra, of this

complaint.

       38.      Commerce’s reliance on Emirates’ financial statements, and rejection of GTI’s

financial statements, to calculate Plaintiffs’ profit and selling expenses ratios is unsupported by

substantial evidence and otherwise not in accordance with law because Emirates’ financial

statements are significantly flawed and reflect third country expenses while GTI’s financial

statements are reliable and reflect the expenses of a producer of comparable producer in Cambodia,

the country under investigation.

                  DEMAND FOR JUDGMENT AND PRAYER FOR RELIEF

       WHEREFORE, and as challenged herein, Plaintiffs respectfully pray that this Court:

       (1) declare Commerce’s actions as described in Counts I-V unsupported by substantial

             evidence and otherwise not in accordance with law;

       (2) remand to Commerce with instructions to recalculate the dumping margin assigned to

             Plaintiffs in this investigation in accordance with the Court’s decision;

       (3) order Commerce to publish an amended final determination in the Federal Register in

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           accordance with a final decision by this Court in this matter, and, if applicable, exclude

           Plaintiffs from the application of any revised antidumping Order if Plaintiffs’ amended

           dumping margin is de minimis as a matter of law;

       (4) order Commerce to issue amended cash deposit instructions to Customs Border

           Protection consistent with this Court’s decision; and

       (5) provide such other relief as this honorable Court deems proper.




                                                      Respectfully submitted,

                                                      /s/ Jeffrey S. Grimson
                                                      Jeffrey S. Grimson
                                                      Kristin H. Mowry
                                                      Sarah M. Wyss
                                                      Wenhui “Flora” Ji
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                                                      Company Limited and Best Mattresses
                                                      International Company Limited

Date: July 9, 2021




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